     Case 1:15-cr-00329-ADA-BAM Document 97 Filed 09/14/18 Page 1 of 2

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 5
 6   ATTORNEY FOR Defendant,
     JESSE MENDOZA
 7
 8
 9                                UNITED STATES DISTRICT COURT
10                               EASTERN DISTRICT OF CALIFORNIA
11                                              ******
12   UNITED STATES OF AMERICA,                           Case No.: 1:15-CR-00329-DAD-BAM
13                  Plaintiff,
14          v.                                           STIPULATION AND ORDER TO
                                                         CONTINUE BRIEFING SCHEDULE
15
16   JESSE MENDOZA et al.,
17                  Defendant.
18
19          Plaintiff, United States of America, by and through its counsel of record, and Defendants,
20   by and through their attorneys of record, hereby stipulate as follows:
21          1.      Pre-trial motions currently due on September 17, 2018, shall be continued to
22   September 24, 2018. Responsive motions currently due on September 24, 2018, shall be
23   continued to October 1, 2018. Replies currently due on October 5, 2018, shall be continued to
24   October 9, 2018.
25          2.      The Government does not oppose the continuance.
26   ///
27   ///
28   ///


     IT IS SO STIPULATED.
                                                     1
     Case 1:15-cr-00329-ADA-BAM Document 97 Filed 09/14/18 Page 2 of 2

 1                                            Respectfully submitted,
 2    Dated:      September 13, 2018     By: /s/Melanie L. Alsworth
 3                                           MELANIE L. ALSWORTH
                                             Assistant United States Attorney
 4
 5
 6    Dated:      September 13, 2018     By: /s/Anthony P. Capozzi
 7                                           ANTHONY P. CAPOZZI
                                             Attorney for JESSE MENDOZA
 8
 9
10    Dated:      September 13, 2018     By: /s/Carol A. Moses
                                             CAROL A. MOSES
11
                                             Attorney for CHRISTOPHER VALDEZ
12
13
14                                             ORDER

15
16          The court has reviewed and considered the stipulation of the parties to continue the

17   briefing schedule in this case. Good cause appearing, the current briefing schedule as to the

18   above-named defendants is hereby amended as follows: pretrial motions are due on September

19   24, 2018, responses are due on October 1, 2018, and replies are due on October 9, 2018. The

20   motions hearing will remain as previously scheduled on Monday, October 15, 2018, at 1:30

21   p.m. in courtroom 5 before District Judge Dale A. Drozd. Time has previously been excluded

22   in this action to December 11, 2018. (See Doc. No. 76.)

23
     IT IS SO ORDERED.
24
        Dated:    September 13, 2018
25
                                                       UNITED STATES DISTRICT JUDGE
26
27
28




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